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            EXHIBIT 4
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11   Counsel for Plaintiff

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13                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
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                                              )
15   JUNHAN JEONG, individually and on behalf )   Case Number: 5:21-CV-02392-BLF
     of all others similarly situated,        )
16                                            )   NOTICE OF WITHDRAWAL OF
              Plaintiff,                      )   KYLE W. ROCHE AS COUNSEL
17                                            )
18            vs.                             )   Judge: Hon. Beth Labson Freeman
                                              )
19   NEXO CAPITAL INC.                        )
                                              )
20            Defendant.                      )
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                  NOTICE OF WITHDRAWAL OF KYLE W. ROCHE AS COUNSEL
28                              Case No. 5:21-CV-02392-BLF
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1           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2           PLEASE TAKE NOTICE that Kyle W. Roche, Esq. of Roche Freedman, LLP (“RF”) hereby

33   notifies the Court and all parties that Mr. Roche is no longer involved in RF’s class action practice
4    and is therefore withdrawing as counsel of record in this case.
4
5           NOTICE IS FURTHER GIVEN THAT no further papers, pleadings, motions, corre-
5
6    spondence, communications, regarding the above-caption action, should be served on
6
7    Kyle W. Roche. Any and all future CM/ECF notifications should remain directed towards
78
     Edward Normand, Alex Potter, Stephen Lagos, and Ivy Ngo, attorneys of record for Plaintiff.
89   DATED: September 1, 2022                     Respectfully Submitted,
10                                                ROCHE FREEDMAN LLP
9
11                                                /s/ Kyle W. Roche
10                                                Kyle W. Roche
12                                                99 Park Avenue, 19th Floor
11                                                New York, NY 10016
13                                                kyle@rochefreedman.com
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                                                  Counsel for Plaintiff
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                   NOTICE OF WITHDRAWAL OF KYLE W. ROCHE AS COUNSEL
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1                                     CERTIFICATE OF SERVICE

2           I hereby certify that on September 1, 2022, a copy of the foregoing was filed electronically
33   and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent
4
4    by e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
5
     unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may ac-
5
6
     cess this filing through the Court’s CM/ECF System.
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                                                   /s/ Kyle W. Roche
89                                                 Kyle W. Roche

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                   NOTICE OF WITHDRAWAL OF KYLE W. ROCHE AS COUNSEL
                                 Case No. 5:21-CV-02392-BLF
